     Case 2:19-cr-00073-WKW-SMD Document 60 Filed 10/01/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 ) CASE NO. 2:19-CR-73-WKW
                                          )             [WO]
CLEDDIE F. STONE                          )

                                     ORDER

      Defendant has filed a pro se motion for compassionate release in which he

seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. # 47.) Defendant was convicted of being a felon in

possession of a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1), and

was sentenced to seventy-two months’ imprisonment. (Doc. # 45.)

      Upon a thorough review of the record, including his recently filed letters

(Docs. # 56–58), the court concludes that Defendant’s motion is due to be denied for

the reasons set out in the Government’s response (Doc. # 51) and based upon a

balancing of the 18 U.S.C. § 3553(a) factors. Accordingly, it is ORDERED that

Defendant’s motion for compassionate release (Doc. # 47) is DENIED.

      DONE this 1st day of October, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
